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Attorneys for Defendants International
Longshoremen’s Association; ILA Local 1804-1;
 ILA Local 1233; and ILA Local 1235

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

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 INTERNATIONAL UNION OF OPERATING                                          :
 ENGINEERS, LOCAL 825,                                                     :
                                                                           :
                                          Plaintiff,                       :
                                                                           :
                            v.                                             :   Civil Action No.
                                                                           :   2:23-cv-03689
 INTERNATIONAL LONGSHOREMEN’S                                              :
 ASSOCIATION, INTERNATIONAL                                                :
 LONGSHOREMEN’S ASSOCIATION LOCAL 1233,                                    :
 INTERNATIONAL LONGSHOREMEN’S                                              :
 ASSOCIATION 1235, and INTERNATIONAL                                       :
 LONGSHOREMEN’S ASSOCIATION LOCAL 1804-1,                                  :
                                                                           :
                                          Defendants.                      :
 --------------------------------------------------------------------------X

                         APPLICATION FOR EXTENSION OF TIME TO
                          ANSWER, MOVE, OR OTHERWISE REPLY
                                  [Local Civil Rule 6.1(b)]

           Defendants International Longshoremen’s Association (“ILA”), ILA Local 1804-1, ILA

Local 1233 and ILA Local 1235 (“Defendants”), through their undersigned counsel, hereby

apply pursuant to Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure and Local Rule 6.1(b),

for an order extending the time to answer, move, or otherwise reply to Plaintiff’s Amended

Complaint.

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           In support of this Motion, Defendants state as follows:

           1.     On July 19, 2023, Plaintiff filed its Amended Complaint in the above-
                  captioned matter.

           2.     On July 26, 2023, Defendants ILA Local 1233 and ILA Local 1235 were
                  served with process, thereby requiring an answer or response to the
                  Amended Complaint by August 16, 2023.

           3.     On August 8, 2023, Defendants ILA and ILA Local 1804-1 were served
                  with process, thereby requiring an answer or response to the Amended
                  Complaint by August 29, 2023.

           4.     No prior extensions of time have been requested.

           5.     Defendants now seek an extension of time, pursuant to Local Rule 6.1(b), until
                  August 30, 2023, for all Defendants to answer, move, or otherwise reply.

           WHEREFORE, all Defendants respectfully apply pursuant to Local Rule 6.1(b), for an

order extending the time to answer, move, or otherwise reply to Plaintiff’s Amended Complaint

until August 30, 2023.



Dated: New York, New York
       August 11, 2023

                                                MAZZOLA MARDON, P.C.


                                                /s/John P. Sheridan
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                                                 ILA Local 1233; and ILA Local 1235




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 11th day of August, 2023, a copy of the foregoing document

was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing

will be sent to all counsel of record, by operation of the court’s electronic filing system.




                                                       /s/John P. Sheridan
                                                       John P. Sheridan


                                              ORDER

           The above application is ORDERED GRANTED extended to August 30, 2023.



ORDER DATED:



                                                       CLERK OF COURT



                                                       By:
                                                              Deputy Clerk




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